         Case 2:19-cv-00105-RWS Document 44 Filed 01/22/20 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION

  JEANNE WEINSTEIN, Individually
  and on behalf of all others similarly
  situated under 29 USC 216(b)

        Plaintiff,

  v.                                             Civil No. 2:19-cv-00105-RWS

  440 CORP. d/b/a The Ridge Great
  Steaks & Seafood and STEPHEN
  CAMPBELL

        Defendants.



         PLAINTIFF’S NOTICE OF FILING OPT-IN CONSENT FORM

       Pursuant to 29 U.S.C. § 216(b), the undersigned counsel files the attached

consent on behalf of the following individual who opts-in to this action as a party-

plaintiff:

             - Brock Jorgensen [Ex A]




                                         1
       Case 2:19-cv-00105-RWS Document 44 Filed 01/22/20 Page 2 of 3




                                     Respectfully submitted,



                                     By: /s/ Drew N. Herrmann
                                         Drew N. Herrmann
                                         (Admitted pro hac vice)
                                         HERRMANN LAW, PLLC
                                         801 Cherry St., Suite 2365
                                         Fort Worth, Texas 76102
                                         Telephone: (817) 479-9229
                                         Fax: (817) 887-1878
                                         Email: drew@herrmannlaw.com

                                            C. Andrew Head
                                            Georgia Bar No. 341472
                                            HEAD LAW FIRM, LLC
                                            1170 Howell Mill Road, NW Suite 305
                                            Atlanta, Georgia 30318 (satellite office)
                                            4422 N Ravenswood Ave
                                            Chicago, IL 60640 (resident office)
                                            Telephone: (404) 924-4151
                                            Facsimile: (404) 796-7338
                                            Email: ahead@headlawfirm.com
                                            (Local Counsel)

                                            ATTORNEYS FOR PLAINTIFF
                                            AND COLLECTIVE MEMBERS


                           CERTIFICATE OF SERVICE

     I certify that on January 22, 2020 a true and correct copy of the above

document will be served on counsel for Defendants via CM/ECF.

                                     /s/ Drew N. Herrmann
                                     Drew N. Herrmann

                                        2
Case 2:19-cv-00105-RWS Document 44 Filed 01/22/20 Page 3 of 3

                                                                Exhibit A
